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   1   CARLOS M. LAZATIN (S.B. #229650)
       clazatin@omm.com
   2   WILLIAM K. PAO (S.B. #252637)
       wpao@omm.com
   3   O’MELVENY & MYERS LLP
       400 South Hope Street
   4   Los Angeles, CA 90071-2899
       Telephone: (213) 430-6000
   5   Facsimile:   (213) 430-6407
   6   Attorneys for Respondent
       JIA YUETING
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   9                          UNITED STATES DISTRICT COURT
  10                        CENTRAL DISTRICT OF CALIFORNIA
  11   SHANGHAI LAN CAI ASSET                      Case No. 2:18-cv-10255-SJO-MRW
       MANAGEMENT CO, LTD.,
  12                                               NOTICE OF SUGGESTION OF
                          Petitioner,              BANKRUPTCY
  13
             v.
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       JIA YUETING,
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                          Respondent.
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   1                 TO ALL PARTIES IN INTEREST:
   2                 PLEASE TAKE NOTICE that, on October 14, 2019 (the “Petition Date”),
   3   Respondent Jia Yueting filed a voluntary petition for relief under chapter 11 of title 11 of
   4   the United States Code, 11 U.S.C. §§ 101, et seq., as amended (the “Bankruptcy Code”),
   5   with the United States Bankruptcy Court for the District of Delaware (the “Bankruptcy
   6   Court”).
   7                 The Respondent files this Notice in an abundance of caution because
   8   Petitioner Shanghai Lan Cai Asset Management Co, Ltd.’s claims in the present case are
   9   barred in whole by the Respondent’s pending bankruptcy proceeding. Pursuant to section
  10   362 of the Bankruptcy Code, certain acts and proceedings against the Respondent and his
  11   property are stayed (the “Automatic Stay”). See 11 U.S.C. § 362(a). Pursuant to section
  12   362 of the Bankruptcy Code, the Respondent’s creditors, including the Petitioner, are also
  13   restrained and enjoined, as of the Petition Date, from, among other things:
  14                 1.      Performing any act to: (i) obtain possession of property of the
  15   Respondent’s bankruptcy estate as set forth in section 541 of the Bankruptcy Code (the
  16   “Estate”), or (ii) exercise control over property of the Estate;
  17                 2.      Filing a lawsuit or continuing any existing lawsuit against the
  18   Respondent;
  19                 3.      Performing any act to collect their claims, including telephoning or
  20   otherwise communicating with the Respondent, for the purpose of collecting such claims;
  21                 4.      Enforcing any judgment against the Respondent; or
  22                 5.      Performing any act to enforce a lien against property of the Estate.
  23                 Creditors must apply to the Bankruptcy Court for relief from the Automatic
  24   Stay in accordance with the provisions set forth in section 362 of the Bankruptcy Code in
  25   order to proceed with any of the actions barred by the Automatic Stay. The acts alleged in
  26   the Petition in this case come within the temporal scope of the above-described
  27   bankruptcy proceeding, which remains active.
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   1                 PLEASE TAKE FURTHER NOTICE that any action taken against the
   2   Respondent without obtaining relief from the Automatic Stay from the Bankruptcy Court
   3   may be void ab initio and may result in a finding of contempt against Petitioner or any
   4   other party taking such action. The Respondent reserves and retains his statutory right to
   5   seek relief in the Bankruptcy Court from any judgment, order, or ruling entered in
   6   violation of the Automatic Stay.
   7   Dated: October 14, 2019                          O’MELVENY & MYERS LLP
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                                                        By:    /s/ William K. Pao
   9                                                          Carlos M. Lazatin
                                                              William K. Pao
  10
                                                        Attorneys for Respondent
  11                                                    JIA YUETING
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